                       1:19-cr-10029-JBM-JEH # 30-1              Page 1 of 2
                                                                                                     E-FILED
                                                           Wednesday, 24 July, 2019 04:19:31 PM
                                                                  Clerk, U.S. District Court, ILCD
                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                               )
                                                        )
                       Plaintiff,                       )
                                                        )
       vs.                                              )    Case No. 19-cr-10029
                                                        )
DANIEL HUDDLESTON,                                      )
                                                        )
                       Defendant.                       )

ORDER FOR ELECTRONIC REVIEW OF PRETRIAL DISCOVERY BY DEFENDANT
                  IN A CORRECTIONAL FACILITY

       Upon the motion of the Defendant, DANIEL HUDDLESTON, to allow in this cause the

electronic review of pretrial discovery by Defendant while in a correctional facility pursuant to

certain conditions and provisions agreed to by the parties, the Court orders as follows:

   1. Good cause exists, pursuant to Local Rule 16.2(D), to allow the electronic review of

pretrial discovery by Defendant while in a correctional facility as described below.

   2. Defendant shall be afforded electronic access to pretrial discovery in this cause

pursuant to the terms and conditions agreed to by the parties.

   3. Defendant’s electronic access to pretrial discovery in this cause is expressly

conditioned on the following:

   a. the ongoing compliance at all times by Defendant with the policies and procedures

       established by the United States Attorney’s Office and the Federal Public Defender’s

       Office; and

   b. the ongoing willingness of the correctional institution to afford Defendant electronic

       access to the pretrial discovery pursuant to the policies and procedures established by the

       United States Attorney’s Office and the Federal Public Defender’s Office.

   4. Defendant’s access to pretrial discovery can be terminated by either party upon

notice to the other, without cause or leave of Court.
                                                 1
                       1:19-cr-10029-JBM-JEH # 30-1           Page 2 of 2


   5. Notwithstanding the modifications of Local Rule 16.2(B)(3) and (4) effected by this

Order, all other provisions of Local Rule 16.2 remain applicable to this cause.




Entered: _____________________________



                            _____________________________             United States District Judge


                                             DANIEL HUDDLESTON, Defendant

                                             By:  s/ Robert J. Hanauer
                                             ROBERT J. HANAUER, ESQ.
                                                 Defendant’s Attorney




                                                2
